      Case 2:24-cv-01608-WSS              Document 37-32           Filed 02/14/25        Page 1 of 18




                           IN THE UNITED STATES DISTRICT COURT
                      F'OR THE WESTERN DISTRICT OF PENNSYLVANIA

   THoves DpxreR JRI<ES,

                                    Plaintffi
             V.
                                                                  Civil Action No. 2:24-cv-1608
  DueNr YouNceLooD; AND
  Does 1-10                                                        JURY TRIAL DEMANDED


                                    Defendants.




                             Expert Declaration of Nicholas G. Himonidis

        NICHOLAS G. HIMoNIDIS, affirms and declares under penalty of perjury:

        I.        I am a principal of The NGH Group, Inc. ("NGH") with offices at 445 Broadhollow Road,

Suite 25, Melville, New York 11141. NGH is a licensed private investigation firm specializing in high-tech

investigations, digital forensics, cyber security, cryptocurrency and blockchain forensics, and eDiscovery. I

have personal knowledge of the facts attested to here n, except as noted. Any opinion expressed herein

represents my expeft opinion to a reasonable degree of professional cefiainty.

        2.        I am an attorney at law, a licensed f'rivate Investigator, a Cerlified Fraud Examiner, a
Ceftified Computer Forensic Specialist, and a Certified Cryptocurrency Forensic Investigator. I have thirty

(30) years of combined experience in these disciplrnes. I have been conducting cornputer forensic

examinatiotls and analysis of digital evidence for over twenty (20) years and have extensive trailing and

experlise in these fields. I have lectured extensively, arrd published articles on various topics in the field of

digital evidence, forensic investigation, and the collection and examinatiol of E,lectrolically Stored

Information (ESI). I am regularly retaiued as an expeft in litigated rnatters involving these issues and I have

been qualified in couft and given experttestimony in the field of computer forensics and the authentication

of digital evidence ol"l numerous occasions. My Curriculum Vitae is annexed hereto Exhibit A.
         Case 2:24-cv-01608-WSS             Document 37-32          Filed 02/14/25        Page 2 of 18



            3.      On February 6,2025, Counsel for the Plaintiff requested that NGH collect and preserve the

    entirety of the video content from the following two (2) YouTube livestream links:

    https://www.voutube.com/live/DN2O5hWyel0?si:Ma-o8iyRIMUDUqlb
                                                                             - Streamed Iive on Oct.28,2024
    https://www.youtube.corn/live/6ybOqnFB-UQ?si:TBruGSnHWGkdKZeJ
                                                                              - Streamed live on Nov. 3, 2024
           4.       As of February 6,2025, these YouTube livestream videos named *10.28.24 - Larry Reid

 Live INTERVIEWS Duane Youngblood: oThe Abused become the Abuser"'and,,,71.3.24                   -pt.2 -Larry
 Reid Live INTERVIEWS Duane Youngblood: 'The Abused became The Abuser"'were still accessible and

viewable on YouTube via the above links. The two videos are approximately two (2) hours thirty-two (32)

minutes and two (2) hours fourteen (14) minutes long, respectively.

           5.      NGH accessed each YouTube link and took screenshots of the YouTube landing page for

each video (See Exhibit B).

           6.      NGH utilized a YouTube MP4 converter known as VTubeGo to collect and preserve

(download) each videol and used Open Broadcaster Software (OBS), a screen recording software, to

document the collection / preservation of these videos. NGH did not edit, alter or modifo the youTube

videos we collected in any way.

           7.      NGH then obtained the hash values of all of the above-referenced files using HashMyFiles

to produce MD5, SHA'256, and SHA-512 hashes for the collected video files, the OBS screen recordings,

and landing page screenshots referenced above. The hash values were recorded and recorded. See Exhibit

C.

           8'      These hash values are the accepted method in the digital forensic community for verifying

the integrity of collected data and ensuring that any file in question has not been edited or tampered with

from the moment it was preserved and hashed. They provide a unique digital fingerprint for each file, and

any change to any of the files, no matter how small, will result in a radically different hash value for that

file.

           9.      Pursuant to the request of Counsel for the Plaintiff NGH has produced copies of the

1
 VTubeGo MP4 converter was utilized as downloading the videos natively through YouTrlbe requires I an active
                                                                                                   )
YouTube account with a YouTube Premium subscription, and 2) permission from the publisher of the video.
                                                       2
     Case 2:24-cv-01608-WSS        Document 37-32        Filed 02/14/25    Page 3 of 18



YouTube videos, along with their EXIF data, the oBS videos, screenshots, and hash values for the

foregoing.




                                                              G. HIMONIDIS
Case 2:24-cv-01608-WSS   Document 37-32   Filed 02/14/25   Page 4 of 18




     EXHIBIT A
    Case 2:24-cv-01608-WSS           Document 37-32         Filed 02/14/25     Page 5 of 18




      Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC
                     nhimonidis@theNGHgroup.com
         445 Broadhollow Road, Ste. 25, Melville, New York 11747
                 516.621.6500 • www.theNGHgroup.com

       DIGITAL FORENSIC & CRYPTOCURRENCY EXPERT
 ◇—————————————————————————◇

With more than 30 years of professional experience in private investigations, computer forensics
and law, Mr. Himonidis has participated in, conducted, and supervised thousands of
investigations, computer forensic engagements, e-discovery projects, and cryptocurrency and
blockchain forensic matters. He has managed the investigative and e-discovery phases of
complex, high-net-worth matrimonial cases; the investigation of financial fraud, including civil
RICO claims, insurance fraud, fraudulent claims against the U.S. government, and embezzlement;
and numerous forms of cybercrime and “traditional” crime through digital forensics. Mr.
Himonidis has written and lectured extensively on e-discovery, digital evidence, cryptocurrency
and blockchain forensics, financial investigation, and legal and ethical issues related to expert
witnesses. A member of the New York State Bar Association Task Force on Emerging Digital
Finance and Currency and co-chair of the Nassau County Bar Association Cyber Law Committee,
he is court-qualified as an expert witness in computer forensics and the authentication of digital
evidence and has acted as a court-appointed computer forensic and cryptocurrency expert. He is
a licensed attorney, a licensed private investigator, a Certified Fraud Examiner, a Certified
Computer Forensic Specialist, a Certified Cryptocurrency Forensic Investigator, and holds the
Chainalysis Reactor Certification (CRC) credential. Mr. Himonidis has also litigated cases in both
state and federal courts.


PROFESSIONAL EXPERIENCE

The NGH Group, Inc., Melville, N.Y.                                                      2017 - present
Provider of high-tech investigations, digital forensics, e-discovery, cryptocurrency and
blockchain forensics, and other litigation support, including expert witness services (consulting
and testifying), licensed in New York and Connecticut
President / CEO
• Supervises all forensic and investigative work
• Provides legal oversight for all firm operations throughout the U.S. and abroad

T&M Protection Resources, LLC, New York, N.Y.                                              2010 - 2017
Global security company specializing in security, cyber security, intelligence and investigations
Vice President & Head of Private Investigations
• Served as Executive-in-Charge of the Private Investigations Division and a member of
   Senior Management Staff
     Case 2:24-cv-01608-WSS          Document 37-32         Filed 02/14/25     Page 6 of 18




•   Developed and supervised operations of Technical Services Unit (TSU)
•   Provided computer forensic, e-discovery and other technical investigative support to legal
    and corporate clients and other internal divisions
•   Provided legal, technical and operational oversight for all investigative operations and
    ensured operational best practices and compliance with applicable laws and regulations

NGH Associates, Ltd., Jericho, N.Y.                                                         1999 - 2010
Provider of investigation, litigation support and computer forensic services to the legal, insurance
and corporate sectors
President & Founder
• Managed business operations
• Supervised computer forensic operations, including investigations of complex financial fraud,
   asset misappropriation, computer crimes, etc.

Fenton Investigation & Security, Inc., Garden City, N.Y.                                    1998 - 1999
Provider of investigation, litigation support and computer forensic services to the legal, insurance
and corporate sectors
Vice President & General Counsel
• Created usage protocol and safeguards for public and private information sources
• Implemented transition to “electronic” based information retrieval, document storage and
   general computerization of operations, including billing and case management
• Supervised and provided investigative training and legal oversight to staff
• Ensured ongoing compliance with state and federal laws affecting operations
• Instituted first protocol for collection and examination of computer evidence

Squadron, Ellenoff, Plesent & Sheinfeld, LLP, New York, N.Y.                              1997 - 1998
Legal practice focused on investigation and litigation of bankruptcy-related matters, including
international financial fraud and analysis of complex financial transactions
Attorney

Gebhardt & Smith, Baltimore, Md.                                                           1995 - 1997
Legal practice focused on investigation and litigation of financial fraud in state and federal court
Attorney

Office of the District Attorney, Queens County                                                   1994
Bureau of Arson & Economic Crimes Investigation, Kew Gardens, N.Y.
Investigative bureau within DA’s office focused on investigation and prosecution of financial crimes
Intern
• Designed and implemented bureau’s first computerized database for tracking local credit
    card fraud complaints and identifying patterns for further investigation
• Assisted in legal research and preparation of cases for trial



Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC
    Case 2:24-cv-01608-WSS           Document 37-32        Filed 02/14/25      Page 7 of 18




Genesis Investigations, Baldwin, N.Y.                                                      1990 - 1993
Provider of investigation and litigation support services to insurance carriers, private law firms and
municipalities, including the City of New York
Special Investigator
• Performed investigations of alleged insurance fraud, arson, construction and industrial
   accident cases, including fatal accidents and multimillion-dollar property and casualty
   losses
• Conducted extensive field surveillance in fraud and other investigations
• Conducted fraud investigations on behalf of Special Counsel for the New York City
   Housing Authority

EDUCATION

St. John’s University School of Law, Jamaica, N.Y.                                              1995
Juris Doctor, Magna Cum Laude
• Top 2% of graduating class
• Articles and Notes Editor, American Bankruptcy Institute Law Review
• Assistant Director of Trials, Criminal Law Institute
• American Jurisprudence Awards for Academic Excellence

St. John’s University, Jamaica, N.Y.                                                            1992
Bachelor of Science, Cum Laude

State University of New York, Farmingdale, N.Y.                                         2004 - 2005
Coursework in Computer Forensics

BAR ADMISSIONS
• New York. Admitted 1997 (Active), State and Federal Courts
• Maryland. Admitted 1996 (Inactive), State and Federal Courts
• District of Columbia. Admitted 1996 (Inactive)
• Commonwealth of Virginia. Admitted 1997 (Inactive)

PROFESSIONAL LICENSES & CERTIFICATIONS
• Certified Computer Forensic Specialist (CCFS)
• Certified Fraud Examiner (CFE)
• Certified Cryptocurrency Forensic Investigator (CCFI)
• Chainalysis Reactor Certification (CRC)
• Licensed Private Investigator – New York and Connecticut
• Licensed Attorney – New York State




Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC                                                     3
     Case 2:24-cv-01608-WSS         Document 37-32       Filed 02/14/25     Page 8 of 18




LECTURES & PUBLICATIONS

Accredited CLE/CPE Lectures
 • “Cybersecurity Technical, Legal and Ethical Considerations for Attorneys and Their Clients”
    Nassau County Inn of Court, November 20, 2024
•   “Dean's Hour: ABA Formal Opinion 512 – The Use of Generative AI Tools & Ethical Issues”
    Nassau County Bar Association, October 9, 2024
•   “Anatomy of a Law Firm Data Breach, Lessons on Prevention and Appropriate Responses”
    Nassau County Bar Association, May 22, 2024
•   “Would the Real Information Please Stand Up: Demystifying Spoofing and Fake ‘Evidence,’”
    New York Chapter, American Academy of Matrimonial Lawyers (AAML)/Association of
    Family and Conciliation Courts (AFCC) CLE Symposium, May 3, 2024
•   “Understanding and Investigating Cryptocurrency,” Katz Tax Seminars, Tax Symposium 2023,
    June 2023
•   “Cybersecurity & Data Protection for Attorneys (and Their Clients),” MatLaw Courtroom
    Evidence Seminar, May 2023
•   “What to Do When Your Client Receives Digital Assets During a Divorce and/or as Part of an
    Inheritance? A Family Law and Trust & Estates Update,” Global Law Symposium, New York
    State Bar Association Task Force on Emerging Digital Finance and Currency, April 2023
•   “Dean’s Hour: How to Catch a Cheating Heart—Use of Digital Evidence in Litigation,” Nassau
    County Bar Association, February 14, 2023
•   “Digital Evidence in Criminal Law Cases: What You Need to Know Before it ‘Bytes’ You in the
    41 73 73,” Connecticut Criminal Defense Lawyers Association, November 8, 2022
•   “Cryptocurrency Considerations in Estate Planning,” Estate Planning Council of Suffolk County,
    Inc., October 19, 2022
•   “Digital Evidence in Family Law Cases: What You Need to Know Before It ‘Bytes’ You in the
    41 73 73,” 2022 American Academy of Matrimonial Lawyers (AAML)/Business Valuation
    Resources (BVR) Divorce Conference, September 18, 2022
•   “Authentication of ESI in Matrimonial & Custody Cases,” Association of Family and
    Conciliation Courts, May 2022
•   “How to Find & Track Cryptocurrency for Litigation,” National Conference of CPA
    Practitioners (NCCPAP), Accounting & Tax Symposium 2021, November 2021
•   “Electronically Stored Information and Digital Evidence Considerations in Matrimonial Cases,”
    Northern Kentucky Bar Association, October 2021
•   “Cryptocurrency & Blockchain Forensics: How to Find & Track Cryptocurrency for Litigation,”
    Erie County Bar Association, September 2021
•   “Digital Espionage in Matrimonial Cases: Lawful Collection of ESI Outside Formal Discovery
    vs. Unlawful Interception,” Nassau County Bar Association, September 2021
•   “New Trends in Digital Evidence,” American Bar Association Family Law Section, June 2021
•   “Cryptocurrency Basics & Investigating Cryptocurrency Transactions Through Data Forensics &

Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC                                                     4
     Case 2:24-cv-01608-WSS         Document 37-32        Filed 02/14/25     Page 9 of 18




    Blockchain Analysis,” National Conference of CPA Practitioners (NCCPAP), Long Island Tax
    Professionals Symposium, November 2020
•   “Cryptocurrency: How to Find it and Track it in Divorce Litigation,” The CPA Academy,
    September 2020
•   “Digital Evidence Training Seminar,” New York Center for Family Representation, July 2020
•   “Digital Evidence: Latest Topics and Trends Affecting Matrimonial Practice,” MatLaw
    Courtroom Evidence Seminar, May 2020
•   “Cryptocurrency & Blockchain: Effects on Matrimonial Litigation,” New York State Bar
    Association, CLE Webinar, May 2020
•   “Cryptocurrency and Divorce Litigation Panel,” American Bar Association, Family Law Section
    Conference, April 2020
•   “Bitcoin, Blockchain & Cryptocurrencies: Understanding These Technologies and Their Impact
    on Financial Investigations and Forensic Accounting,” National Conference of CPA Practitioners
    (NCCPAP), Long Island Tax Professionals Symposium, November 2019
•   “Digital Assets Continued: Crypto Forensics,” New York State Society of CPAs (NYSSCPA),
    Digital Assets Conference, October 2019
•   “Techniques & Tools to Track Cryptocurrency Transactions,” International Association &
    Internal Auditors, Next Wave Technology Conference, October 2019
•   “Cryptocurrency in Financial Investigations,” Long Island Tax Professionals Symposium,
    October 2019
•   “Investigating Cryptocurrency Transactions through Data Forensics & Blockchain Analysis:
    Advanced Techniques,” New York State Society of CPAs (NYSSCPA), Cryptocurrency
    Conference, October 2019
•   “Cybersecurity Seminar: Investigating Cryptocurrency Transactions,” Association of Certified
    Fraud Examiners, Long Island Chapter, September 2019
•   “Investigating Cryptocurrency Transactions through Data Forensics & Blockchain
    Analysis,” New York State Society of CPAs (NYSSCPA), Digital Assets Committee,
    April 2019
•   “Cryptocurrency and How to Find It/Track It in Divorce Litigation,” National
    Association of Divorce Professionals Annual Conference, Ft. Lauderdale,
    March 2019
•   “Bitcoin, Blockchain and Cryptocurrencies: What Attorneys Need to Know About These
    Revolutionary Technologies and How to Uncover Their Existence and Track Them in
    Litigation,” St. John’s University School of Law, November 2018
•   “Cryptocurrency: The Law, and How to Find it & Track it in Divorce Litigation,” The
    Brooklyn Bar Association, March 2018; Westchester County Bar Association, May 2018,
    Nassau County Bar Association, September 2018
•   “Advanced Digital Evidence Issues in Fraud Investigation,” The Association of Certified
    Fraud Examiners Long Island Chapter, January 2018
•   “Forensic Testimony / Disclosure & Impeachment of Forensic Experts,” District of

Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC                                                    5
    Case 2:24-cv-01608-WSS          Document 37-32       Filed 02/14/25     Page 10 of 18




    Columbia Department of Forensic Sciences, In-Service Training Program, Washington,
    D.C., December 2017
•   “ESI in Non-Commercial Litigation,” Rockland County Bar Association, December 2017
•   “Digital Evidence in Fraud Investigations: Technical, Legal & Ethical Issues,” The
    Association of Certified Fraud Examiners Long Island Chapter CPE Training Seminar,
    November 2017
•   “Criminal Implications of Spousal Espionage / Improper Gathering of Digital Evidence,”
    The American Academy of Matrimonial Lawyers (NY Chapter), Fall CLE Conference,
    Rochester, N.Y., October 2017
•   “Challenges & Trends in Fraud Investigation,” The Association of Certified Fraud
    Examiners, New York Chapter, Annual CPE Training Seminar / Conference, Pace
    University, June 2017
•   “Evidentiary Foundations of Electronically Stored Information,” Matlaw Systems
    Courtroom Evidence Series, May 2017 (Seven-lecture series)
•   “Legal & Ethical Issues for Attorneys working with Investigators,” Rockland County Bar
    Association, January 2017
•   “Digital Evidence in Matrimonial Cases: Technical, Legal & Ethical Issues,” New York
    State Bar Association FLS CLE Program, Fall, 2016; featured (and only) speaker for 4.0
    CLE Credit Course
•   “Digital Defense: Protecting Client’s Digital Assets and Electronic Communications,”
    Nassau County Bar Association; Matrimonial Law Committee CLE Program, November
    2016
•   “Digital Evidence in Forensic Accounting Engagements,” New York State Society of CPAs
    (NYSSCPA), Forensic and Litigation Conference, June 2016
•   “Digital Offense and Defense 101: What every Lawyer Needs to Know Regarding Proper
    Collection and Use of Digital Evidence / Social Media Content, and the Prevention of
    Unlawful Collection or Interception of Digital Information,” Rockland County Bar
    Association, May 2016
•   “Digital Evidence in Matrimonial Cases: Deconstructing ESI,” The Brooklyn Bar Association,
    January 2015
•   “What Private Investigators Can do Legally & Ethically for Attorneys,” ABA Family Law
    Section Conference, Stowe, Vt., October 2014
•   “Digital Offense & Defense,” ABA Family Law Section Conference, Deer Valley, Utah, October
    2013
•   “Digital Defense 101: Protecting Your Clients’ Digital Data in Enhanced Threat
    Scenarios,” American Academy of Matrimonial Lawyers, New York Chapter, New York,
    N.Y., 2013
•   “Digital Evidence in Matrimonial Cases,” New York State Matrimonial Bar Association,
    Cooperstown, N.Y., July 2013
•   “Digital Offense & Defense: Obtaining Electronic Evidence Legally, Using It & Protecting

Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC                                                  6
        Case 2:24-cv-01608-WSS          Document 37-32        Filed 02/14/25      Page 11 of 18




        Your Client,” American Bar Association Webinar, June 2013
•       “Sources and Methods of Discovering Hidden Assets in Matrimonial Cases,” ABA Family
        Law Section Conference, Philadelphia, Pa., October 2012
•       “Legal & Ethical Issues for Attorneys Working with Investigators,” Moses & Singer LLP, New
        York, N.Y., 2012
•       “Digital Evidence in Civil and Criminal Cases,” Rural Law Center of NY, Inc., Plattsburgh,
        N.Y., 2012
•       “Matrimonial Practice in the Digital Age: De-Constructing Electronic Evidence,” New York
        City Bar Center, New York, N.Y., 2010
•       “Digital Evidence and Electronic Discovery: Legal, Technical, and Ethical Considerations
        for New York Attorneys,” Franklin County Bar Association, Malone, N.Y., 2010
•       “Digital Evidence and Electronic Discovery: Legal, Technical, and Ethical Considerations
        for New York Attorneys,” Essex County Bar Association, Plattsburgh, N.Y., 2010
•       “Digital Evidence: What Every Attorney Needs to Know,” Matlaw Courtroom Evidence Series,
        2010
•       “Digital Evidence: What Every Attorney Needs to Know,” National Public Defenders
        Conference, Las Vegas, Nev., 2010
•       “Digital Evidence: What is it? Where to find it? How to use it?”, Tampa Bay Paralegal
        Association, Tampa Bay, Fla., 2009
•       “Digital Evidence: What is it? Where to Find It? How to Use It?”, Plant City Bar Association,
        Tampa, Fla., 2009
•       “Digital Evidence: What is it? Where to Find It? How to Use It?”, Gulf Coast Paralegal
        Association, Inc., Sarasota, Fla., 2009
•       “Ethical Considerations for Legal Professionals Working with Investigators,” Tampa Bay
        Paralegal Association, Inc., Tampa Bay, Fla., 2009
•       “Electronic Evidence: What is it? Where to Find It? How to Use It,” New York Family Law
        American Inn of Court, 2005
•       “Personal Investigations: Legal and Ethical Issues for Attorneys Working with
        Investigators,” Theodore Roosevelt American Inn of Court, 2004
•       “The Usefulness and Relevance of Private Investigation in Family Court Cases; Legal and
        Ethical Issues for Attorneys Working with Investigators,” Suffolk Academy of Law, 2004


Other Professional Lectures/Interviews
 • “Identifying and Avoiding Scams,” Mineola Chamber of Commerce, May 2023
    •    “Understanding & Investigating Cryptocurrency,” Associated Licensed Detectives of
         New York State (ALDONYS), March 2022
    •    “Investigating Cryptocurrency Transactions Through Data Forensics & Blockchain
         Analysis,” New York State Society of Certified Public Accountants (NYSSCPA), May
         2021

Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC                                                         7
     Case 2:24-cv-01608-WSS         Document 37-32        Filed 02/14/25     Page 12 of 18




 •   “Cryptocurrency Investigation,” PI Perspectives Interview, December 2020
 •   “Security Best Practices for Lawyers (and Other Professionals) Working Remotely,” Tech
     Talk Law Interview, June 2020
 •   “Investigating Bitcoin and Cryptocurrency Transactions,” Society of Professional Investigators,
     May 2019
 •   “Digital Evidence: What Every Investigator Needs to Know,” Associated Licensed
     Detectives of New York State (ALDONYS) Annual Training Conference, Vernon, N.Y.
     2010
 •   “Computer Forensics in Private Sector Investigations,” SUNY Farmingdale, 2010
 •   “Case of the Month: The Case of the Smoking Laptop,” Association of Certified Fraud
     Examiners, Long Island Chapter, 2005
 •   “Protecting Your Company as well as Employees’ Civil Liberties: Legal Seminar for
     Business Professionals,” Melville, New York, 2004
 •   “Proper Crime Scene Techniques When Encountering Computer Evidence,” New York
     State Department of Corrections, Investigators Annual In-Service Training, 2004


Publications
 •   “Cyber Security in 2023 Is an All-Hands-on-Deck Everybody Thing—Not Just an ‘Office IT’
     Thing!”, Nassau Lawyer, Nassau County Bar Association, May 2023
 •   “The Admissibility of Illegally Obtained Evidence in Family Law Cases and Related Ethical
     Issues,” Family Advocate, American Bar Association, May 2022
 •   “Digital Espionage in Matrimonial Cases: Drawing the Line Between Legitimate Self-Help and
     Unlawful Interception of Electronic Communications,” Journal of the American Academy of
     Matrimonial Lawyers, Vol. 33, No. 2, 2021
 •   “Digital Evidence in Matrimonial Cases: Technical, Legal & Ethical Issues,” New York State
     Bar Association, September 2016
 •   “Matrimonial Practice in the Digital Age,” FamilyLawyerMagazine.com, February 2012
 •   “Dealing with Child Pornography,” FamilyLawyerMagazine.com, February 2012
 •   “Legal & Ethical Issues for Attorneys Working with Investigators,”
     FamilyLawyerMagazine.com, October 2012
 •   “Power Down When Gathering Computer Evidence,” The Spotlight, Associated Licensed
     Detectives of New York State, July/August 2009
 •   “Stop, Drop and ‘Roll’: Dealing with the Discovery of Child Pornography,” The Spotlight,
     Associated Licensed Detectives of New York State, July/August 2010




Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC                                                    8
    Case 2:24-cv-01608-WSS          Document 37-32        Filed 02/14/25     Page 13 of 18




COURT APPOINTMENTS

Nicholas Himonidis and the NGH Group have been appointed by the Supreme Court of the
State of New York as neutral digital forensic examiners and as neutral cryptocurrency experts.
Various courts have selected and authorized Mr. Himonidis and the NGH Group to carry out
court-ordered collection, preservation, and examination of electronically stored information
(ESI).

EXPERT WITNESS EXPERIENCE

Expert Testimony
 • New York State Supreme Court
 • New York State Family Court
 • Connecticut State Superior Court
 • California Superior Court, Los Angeles County (by deposition)

Expert Reports, Affidavits and Declarations
 • Numerous state and federal courts

AWARDS
  • Eugene R. Fink Memorial Award, Associated Licensed Detectives of New York State
    (ALDONYS), November 7, 2024
  • Investigator of the Year Award, Associated Licensed Detectives of New York State
    (ALDONYS), November 30, 2018

                           CONTINUING EDUCATION/TRAINING
 ◇—————————————————————————◇
  Chainalysis Academy: Reactor Certification Training • Cryptocurrency Crime: Investigating and
     Mitigating the Risks of Illegal Domestic and Cross-Border Activities • International Money
Laundering – Counter Terrorism Financing • Cryptocurrency Forensic Investigations • Data Privacy
 & Protection in Legal Administration • Ethics of Social Media Investigation • Mobile Device and
    Social Media Security Best Practices • Enterprise Electronic Discovery: Various Challenges,
  Methodologies and Tools • The Viability of MD5 or SHA1 for Forensics • Modern Digital Law:
   Should Private Investigator Licenses Be Required? • Digital Forensics Curriculum at a College
 Level • Identifying and Avoiding the Pitfalls of Electronic Discovery • Cryptography and Forensic
Investigation • Emerging Technologies: Changes and the Ripple Effect on Forensics • Standards in
   Digital Forensics • Forensic Examinations in a Terabyte World • Computer Forensics Building
    Blocks: Understanding the FAT File System Essential for Computer Forensics Investigators •
      Detecting the Presence of Host Protected (Hidden) Areas in Hard Drives • Anti-Forensics
  Implications in the Security Environment • Catching Masked Surfers: Anonymizers and Spoofed
     SSLs • Distributed Computing Challenges in Digital Investigations • Handheld and Mobile
 Forensics Evolution • The Emerging Area of E-Discovery • Electronic Discovery Practice for the
      NY Attorney • Handheld and Cell Phone Forensics • Cryptocurrencies in Investigations

Nicholas G. Himonidis, JD, CFE, CCFS, CCFI, CRC                                                  9
Case 2:24-cv-01608-WSS   Document 37-32   Filed 02/14/25   Page 14 of 18




      EXHIBIT B
Case 2:24-cv-01608-WSS   Document 37-32   Filed 02/14/25   Page 15 of 18
Case 2:24-cv-01608-WSS   Document 37-32   Filed 02/14/25   Page 16 of 18
Case 2:24-cv-01608-WSS   Document 37-32   Filed 02/14/25   Page 17 of 18




      EXHIBIT C
Case 2:24-cv-01608-WSS   Document 37-32   Filed 02/14/25   Page 18 of 18
